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IN THE UNITED STATES DISTRICT COURT

 

 

DISTRICT OF MARYLAND
(Northern Division)

ORVILLE EUGENE BRADFORD, )
)
Plaintiff, )
)

Vv. ) Civil Action No.:
)
LAWRENCE G. MACDONALD )
)
AND )
)
JAMES PHILLIPS )
D/B/A PHILLIPS SPECIALIZED )
HEAVY DUTY HAULING LTD. )
)
Defendants. )
)

NOTICE OF REMOVAL

 

Defendants Lawrence G. MacDonald (“Defendant MacDonald”) and James Phillips d/b/a
Phillips Specialized Heavy Duty Hauling, Ltd. (“Defendant Phillips”) (collectively “Defendants’’),
by their counsel, Shadonna E. Hale, Steven J. Willner, and Wilson, Elser, Moskowitz, Edelman &
Dicker, LLP and pursuant to 28 U.S.C. § 1441, hereby remove this action from the Circuit Court
of Maryland for Baltimore County to the United States District Court for the District of Maryland:

il. On November 9, 2018, Plaintiff Orville Eugene Bradford (“Plaintiff”) filed a
Complaint against Defendant MacDonald in the Circuit Court of Maryland for Baltimore County,
commencing the civil action entitled Orville Eugene Bradford v. Lawrence G. MacDonald, Case
No. 03-C-18-011288 (“State Action”).

2. The Complaint asserted a single cause of action against Defendant MacDonald for
personal injuries allegedly sustained by Plaintiff arising out of a motor vehicle collision on

December 7, 2017 involving Plaintiff and Defendant MacDonald. A copy of the Complaint is

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attached as Exhibit 1. A copy of the Case Information Report filed with the Complaint is attached
as Exhibit 2. A copy of a Summons issued for service upon Defendant MacDonald is attached as
Exhibit 3.

3. On April 1, 2019, Plaintiff filed an Amended Complaint, adding Defendant Phillips
to the State Action and alleging that Defendant MacDonald was acting as the alleged agent,
servant, and/or employee of Defendant Phillips. A copy of the Amended Complaint is attached as
Exhibit 4. A copy of the Summons issued for service upon Defendant Phillips is attached as
Exhibit 5. A copy of a re-issued Summons for service upon Defendant MacDonald is attached as
Exhibit 6.

4, On May 1, 2019, Defendant Phillips was served by personal service with a copy of
the Amended Complaint and Summons. A copy of the Affidavit of Service proving service upon
Defendant Phillips is attached as Exhibit 7.

Se On May 3, 2019, Defendant MacDonald received a copy of the Amended
Complaint that was delivered by certified mail to the address of 2203 Strathcona Road — Rte. 312,
Forest Hill, Prince Edward Island COA 2A0. However, a return receipt was not requested or signed
by Defendant MacDonald or anyone authorized by him to accept service on his behalf.
Accordingly, Defendant MacDonald has not yet been served.!

6. The United States District Court for the District of Maryland has original diversity

jurisdiction over this personal injury action pursuant to 28 U.S.C. § 1332(a) because:

 

! See Md. Rule 2-126(a)(3) (service by certified mail must be made with proof including the original return receipt);
See Fed. R. Civ. P. 4(f) (providing that service of process on an individual in a foreign country is proper in accordance
with the Hague Convention on the Service Abroad of Judicial and Extrajudicial Documents); See Hague Convention,
20 U.S.T. 361 at Art. 10(a) (permitting service of process by mail); See Syncrude Canada Ltd. V. Highland Consulting
Group, Inc., 916 F. Supp. 2d 620, 627 (D. Md. 2013) (state law on service of process must be satisfied when serving
by mail); See also Randolph vy. Henry, 50 F. Supp. 2d 572, 579 (S.D.W. Va. 1999) (same).

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(a) Plaintiff is a citizen of Maryland, as he is alleged in the Amended Complaint
to reside at 203 A Margate Drive, Glen Burnie, Maryland 21060;

)) Defendant MacDonald is a citizen of the foreign state of Canada in the
province of Prince Edward Island, as he is alleged in the Amended
Complaint to reside at 2203 Strathcona Road — Rte. 312, Forest Hill, Prince
Edward Island COA 2A0;

(c) Defendant Phillips is a citizen of the foreign state of Canada in the province
of New Brunswick, as he is alleged in the Amended Complaint to reside at
119 Edinburgh Drive, Moncton, New Brunswick E1E 2K8; and

(d) Plaintiff claims damages in the Amended Complaint in the amount of
$500,000.

7. Accordingly, the matter in controversy is between a citizen of a State and citizens
of a foreign state and the amount of controversy exceeds $75,000, thus satisfying the diversity
jurisdiction criteria set forth in 28 U.S.C. § 1332(a).

8. This Notice of Removal is timely under 28 U.S.C. § 1446(b)(1) because Defendant
MacDonald has not yet been served and Defendant Phillips was served less than 30 days prior to
the date of this Notice. See 9 4-5 supra. Furthermore, there are no other defendants in the State
Action and both Defendants join in this removal, satisfying the criterion that all defendants join or
consent to removal under 28 U.S.C. § 1446(b)(2).

a Removal of this action from the Circuit Court of Maryland for Baltimore County
to this Honorable Court is, therefore, proper pursuant to 28 U.S.C. §§ 1332(a) and 1441.

10. Pursuant to L.R. 103.5(a), Defendants attach copies of the following documents

also filed in the State Action:

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(a)
(b)
(c)
(d)
(e)

(f)

A deficient Request for Summons, attached as Exhibit 8;

A second deficient Request for Summons, attached as Exhibit 9;

An MDEC Deficiency Notice, attached as Exhibit 10;

A second MDEC Deficiency Notice, attached as Exhibit 11;

A proper Request for Summons for Defendant Phillips, attached as
Exhibit 12; and

An Entry of Appearance of Counsel on behalf of Defendant Phillips,

attached as Exhibit 13.

WHEREFORE, Defendants respectfully notice the removal of the State Action from the

Circuit Court of Maryland for Baltimore County to the United States District Court for the District

of Maryland and respectfully request that the Clerk of this Honorable Court docket this action for

all further proceedings.

Dated: May 20, 2019

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Respectfully submitted,

WILSON ELSER MOSKOWITZ
EDELMAN & DICKER, LLP

/s/ Shadonna E. Hale
Shadonna E. Hale (Bar No. 08108)
Steven J. Willner (Bar No. 16341)
500 East Pratt Street, Suite 600
Baltimore, Maryland 21202
Telephone: (410) 539-1800
Facsimile: (410) 962-8758
Shadonna.Hale@ WilsonElser.com
Steven. Willner@ WilsonElser.com
Attorneys for the Defendants
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CERTIFICATE OF SERVICE

I HEREBY CERTIFY that on this 20" day of May 2019 a true copy of the foregoing Notice
of Removal was served via this Court’s ECF/CM filing system and via electronic mail upon:

Michael C. Eisenstein

201 N. Charles Street, Suite 1504
Baltimore, Maryland 21201
Attorney for the Plaintiff

/s/ Steven J. Willner
Steven J. Willner (Bar No. 16341)

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